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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.:

 MITZY BATISTA,

                Plaintiff,
 v.

 SOUTH FLORIDA WOMAN’S HEALTH
 ASSOCIATES, INC., EDWARD D. ECKERT,

             Defendants.
 __________________________________/

                                           COMPLAINT
                                       {Jury Trial Demanded}

        Plaintiff, MITZY BATISTA, brings this action against Defendants, SOUTH FLORIDA

 WOMAN’S HEALTH ASSOCIATES, INC. and EDWARD D. ECKERT, pursuant to the Fair

 Labor Standards Act (“FLSA”), 29 U.S.C § 201 et seq., and alleges as follows:

 1.     Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

 2.     At all times material hereto, Plaintiff MITZY BATISTA was a resident of the State of

 Florida and an “employee” of Defendants as defined by the FLSA.

 3.     At all times material hereto, Plaintiff engaged in interstate commerce on a regular and

 recurring basis within the meaning of the FLSA, including but not limited to telephone

 communication with people outside Florida.

 4.     At all times material hereto, Defendant, SOUTH FLORIDA WOMAN’S HEALTH

 ASSOCIATES, INC., was a Florida corporation with its principal place of business in South

 Florida, engaged in commerce in the field of medical services, at all times material hereto was the

 “employer” of Plaintiff as that term is defined under statutes referenced herein, engaged along with




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 its employees in interstate commerce, and has annual gross sales and/or business volume of

 $500,000 or more.

 5.       Two or more of Defendants’ employees used tools, supplies, and equipment that were

 manufactured outside Florida in furtherance of Defendants’ business including but not limited to

 computers, telephones, cell phones, computer mice, and keyboards.

 6.       Defendant, EDWARD D. ECKERT, is a resident of Broward County, Florida and was, and

 now is, a manager of Defendant, SOUTH FLORIDA WOMAN’S HEALTH ASSOCIATES, INC.,

 and controlled Plaintiff’s duties, hours worked, and compensation. Accordingly, EDWARD D.

 ECKERT was and is an “employer” of the Plaintiff within the meaning of 29 U.S.C. §203(d).

 7.       Plaintiff MITZY BATISTA worked for Defendants as a medical assistant.

 8.       Defendants failed to pay Plaintiff her full and proper minimum wages for hours worked

 during Plaintiff’s employment.

 9.       Attached as Exhibit A is a preliminary calculation of Plaintiff’s claims. These amounts may

 change as Plaintiff engages in the discovery process.

 10.      Defendants have knowingly and willfully refused to pay Plaintiff her legally-entitled

 wages.

 11.      Plaintiff has complied with all conditions precedent to bringing this suit, or same have been

 waived or abandoned.

 12.      Plaintiff has retained the services of the undersigned and is obligated to pay for the legal

 services provided.




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                                     COUNT I
                 VIOLATION OF FAIR LABOR STANDARDS ACT (“FLSA”)
                                ALL DEFENDANTS

 13.     Plaintiff realleges and incorporates the allegations set forth in paragraphs 1-12 above as if

 set forth herein in full.

 14.     Plaintiff alleges this action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 216 (b),

 that Plaintiff is entitled to: (i) unpaid minimum wages and (ii) liquidated damages pursuant to the

 Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

 15.     Plaintiff seeks recovery of damages as referenced above and further seeks interest, costs,

 and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

         WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, plus

 costs, reasonable attorneys’ fees, and such other remedy as the court deems just and appropriate.

                                               Respectfully submitted,

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